
Appeal by the defendant from a judgment of the Supreme Court, Kings County (Hall, J.), rendered September 10, 2002, convicting him of murder in the second degree, upon his plea of guilty, and imposing sentence.
Ordered that the judgment affirmed.
We have reviewed the record and agree with the defendant’s assigned counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]). Florio, J.E, Krausman, Luciano, Townes and Rivera, JJ., concur.
